Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 1 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 2 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 3 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 4 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 5 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 6 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 7 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 8 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 9 of 10
Case 1:05-cr-10115-JLT Document 264 Filed 09/12/07 Page 10 of 10
